 1                                                                   The Honorable Frederick P. Corbit
                                                                     Hearing Date: September 13, 2024
 2                                                                            Hearing Time: 9:00 a.m.
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 8                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF WASHINGTON
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10
     In re:                                               CASE NO. 24-01421-11
11
     IDEAL PROPERTY INVESTMENTS LLC,                      DECLARATION OF ERIC CAMM IN
12                                                        SUPPORT OF FIRST DAY MOTIONS
                                   Debtor.
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14

15            ERIC CAMM hereby declares as follows:

16            1.    I am the Manager of the debtor. I am also the Director of Capital Advisory of
17   TurningPointe, LLC d/b/a Turning Point Strategic Advisors, the previously appointed general
18
     receiver over Creative Technologies, L.L.C. (“Creative”) and Ideal Property Investments, LLC
19
     (“Debtor”). I am over the age of 18, and I am competent to testify. This declaration is based on
20
     my personal knowledge and my review of documents produced by Ryan Wear, Debtor’s
21

22   previous Manager and principal actor, records provided by third parties as described below, and

23   discussions with the Debtor’s brokers, former employees of Debtor and its affiliates.

24   GENERAL OVERVIEW OF DEBTOR, ITS ASSETS AND ITS SECURED CREDITORS
25            2.    The Debtor is the holder of approximately twenty-five parcels of real property
26
     (“Real Property”). Of note, at the inception of the receivership, Mr. Wear did not disclose all of

      DECLARATION OF ERIC CAMM IN SUPPORT OF
      FIRST DAY MOTIONS - 1



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 1   these parcels and I and the team at Turning Point have been discovering additional ones through
 2   our efforts as Receiver, which pre-date this filing. Additionally, several parcels are owned by
 3
     wholly owned subsidiaries of the Debtor. Finally, a review of the Debtor’s records has indicated
 4
     that up to an additional sixteen parcels might be owned by Debtor or its subsidiaries (or have
 5
     been recently transferred by them), which my team is in the process of investigating. Attached as
 6

 7   Exhibit A is a spreadsheet identifying the Real Property, its address, its estimated value, and all

 8   known secured creditors for such Real Property and the amounts believed to be owed to each.

 9   This spreadsheet also identifies whether the Debtor or one of its subsidiaries is in title to the
10
     respective Real Property.
11
            3.      Many of the Real Properties have commercial tenants. Some of these tenants pay
12
     rent while others are affiliated entities that have commercial leases with Debtor but who do not
13
     appear to have ever paid rent. This includes entities in their own involuntary bankruptcy
14

15   proceedings in Texas (explained further below). Attached as Exhibit B is a copy of rent rolls for

16   the Real Property identifying the anticipated income for the Debtor during this proceeding. It is
17   anticipated that the Debtor will shortly file one or more motions to approve the sale of certain
18
     properties in order to generate additional cash, which will be addressed at or before the Final
19
     Hearing.
20
            4.      The Debtor has put together a proposed budget (“Budget”) for the first six weeks
21

22   of this proceeding, which is attached as Exhibit C.

23          5.      The Debtor is investigating the status of insurance at the various Real Properties.

24   However, it is known that, presumably due to cash flow issues and delays in receiving
25   information from Mr. Wear, certain insurance policies lapsed and the secured lenders for such
26
     parcels have obtained force placed insurance. The Debtor is actively working with an insurance

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      FIRST DAY MOTIONS - 2



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 1   broker to replace all lapsed insurance policies, which will be one uses of Cash Collateral sought
 2   in this proceeding.
 3
                           EVENTS LEADING UP TO BANKRUPTCY FILING
 4
            6.      As mentioned, Debtor’s affiliate, Creative, runs an operating business that sells,
 5
     leases and operates water machines throughout the United States.
 6

 7   Initiation of Receivership

 8          7.      First Fed Bank, a secured creditor, sought the appointment of a general receiver

 9   over Debtor’s assets and business in King County Superior Court.
10
            8.      On May 3, 2024, the King County Superior Court appointed Turning Point
11
     Strategic Advisors as general receiver over the assets and business of Debtor (“Turning Point” or
12
     “Receiver”). In that order, the court found, among other things, that Debtor was in default on
13
     certain loan obligations owed to First Fed Bank, that Debtor lacked the ability and resources to
14

15   protect and preserve its assets, and that Debtor was not paying debts when due.

16          9.      The receivership estate’s assets consisted primarily of the real property identified
17   in Exhibit A and the income identified in Exhibit B.
18
            10.     Each of the pieces of Real Property are encumbered by one or more deeds of trust
19
     in favor of multiple lenders, and most are further encumbered by other liens, including property
20
     tax liens and contractor’s liens.
21

22   Marketing and Attempted Sales in Receivership

23          11.     Marshalling the Real Property, located across the country and in various states of

24   disrepair, requires steady organization and management. As part of this work, promptly
25   following Receiver’s appointment it reached out to national real estate brokerages to identify a
26
     “one stop shop” for marketing and selling the Real Property. Receiver negotiated a discounted

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      FIRST DAY MOTIONS - 3



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 1   commission structure with NAI Puget Sound Properties, Richard Page, and NAI’s affiliated
 2   brokerages across the country (collectively, “Brokers”). On May 15, 2024, the King County
 3
     Superior Court approved the employment of the Brokers.
 4
            12.     Promptly following their employment, the Brokers started working with Receiver
 5
     to secure, market, and sell the Properties.
 6

 7          13.     While Receiver made significant progress in listing properties, receiving and

 8   evaluating offers, and signing sales contracts, Receiver ran into an intractable problem. There are

 9   at present at least two federal lawsuits, and several state lawsuits, alleging that Debtors’ previous
10
     manager, Ryan Wear, engaged in a massive fraud and Ponzi scheme, and alleging that Debtors’
11
     Real Property may have been obtained using funds involved in fraud. As a result, title insurance
12
     companies were unwilling to insure receivership sales.
13
            14.     Receiver had lengthy, detailed discussions and meetings with multiple title
14

15   insurance companies across the company which ultimately, after weeks of review, declined to

16   provide coverage. Several representatives of those companies informed Receiver that they
17   would be willing to provide coverage if the Debtor was placed in bankruptcy, and if Debtor’s
18
     assets are sold under Section 363 of the United States Bankruptcy Code.
19
            15.     Without title insurance, Receiver would be forced to offer substantial discounts to
20
     attract buyers. The result of this would be that millions of dollars would be lost for the creditors
21

22   of the receivership estate.

23          16.     Receiver recently identified one title company that appeared willing to provide

24   coverage, on a case by case basis for sales in receivership in limited circumstances, but was more
25   willing to insure sales in bankruptcy. The timing of this remained problematic as Receiver was
26


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 1   going to start facing foreclosures in other states and would not be able to sell those properties
 2   ahead of the foreclosure sales, again resulting in lost money for the creditors of Debtor.
 3
     Compliance and Enforcement Issues with Prior Management
 4
            17.     As is typical at the outset of a receivership, Receiver asked Debtor’s
 5
     management—namely, Ryan Wear and Jeremy Briggs—for documents and information
 6

 7   regarding Debtor’s corporate governance structure, assets, finances, insurance and operations.

 8   Receiver requested documents related to the Real Property; to identify and transfer control of

 9   deposit accounts; deliver keys or access codes for facilities; information regarding lease
10
     agreements and payment streams; and share the information they had purportedly given to
11
     prospective buyers. Receiver tried to schedule meetings to obtain keys, building access codes,
12
     and deposit account access.
13
            18.      Though Mr. Wear and Mr. Briggs were originally cordial and amenable, they did
14

15   not actually provide many records or work cooperatively to go to banks or meet to hand over

16   keys (in many instances claiming they did not have the keys or know where the keys may be).
17   Because informal requests seemed ineffective, Receiver scheduled a meeting to work through the
18
     list of things outstanding. Receiver expected them to attend the meeting prepared to provide the
19
     information requested, such as sharing access to QuickBooks for Debtor.
20
            19.      I personally met with Mr. Wear and Mr. Briggs on May 21, 2024, along with one
21

22   of my colleagues from Turning Point. To our surprise and disappointment, Mr. Briggs showed

23   up with nothing but a blank legal pad. He did not bring his laptop, so he was unable to access any

24   online records, including QuickBooks and bank accounts during the meeting. Mr. Wear deferred
25   to Mr. Briggs on all financial matters, and he could not recall which keys he had or where he
26
     kept them. We asked when they would be able to provide the information we were requesting.

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      FIRST DAY MOTIONS - 5



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 1   Mr. Briggs said he would turn to it in two or three days, after finishing a “big refinancing
 2   project.”
 3
            20.     After some time passed, Mr. Briggs provided only (i) an incomplete rent roll and
 4
     (ii) a vendor list that had not been updated since December 31, 2023.
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            21.     For several weeks, Mr. Briggs allowed Receiver nothing more than “view only”
 6

 7   access to accounts at Bank of America. “View only” access does not allow Receiver to look at

 8   more than recent transactions; it does not give access to bank statements. Without that

 9   information, Receiver could not begin a reliable accounting or track receivership assets. Mr.
10
     Wear met with Nick Howe of Turning Point at Bank of America on June 5, 2024 to make Mr.
11
     Howe a co-signor on those accounts.
12
            22.     Following Receiver filing a motion for contempt sanctions and follow-up
13
     communications over several weeks, Receiver finally received some of the requested information
14

15   for assessment of the receivership estate.

16   Real Property Access and Rent Payment Issues
17          23.     I have been told that Mr. Wear or Mr. Briggs instructed certain managers to tell
18
     their employees not to cooperate with the Receiver with regard to Debtor’s properties. This made
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     accessing the Real Property more difficult as the employees on site were either uncooperative or
20
     unaware of the Receivership. These issues slowed down marketing and sales of properties. I also
21

22   received emails from employees instructing me on what I could and could not talk to employees

23   about when I was at the properties, and reprimanding me for creating confusion (since these

24   employees were apparently not made aware of the receivership).
25          24.     Many entities affiliated with Debtor have purported lease agreements for the Real
26
     Property. However, none of the affiliated entities that have leases with Debtor appear to have

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      FIRST DAY MOTIONS - 6



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 1   paid rent since initiation of receivership. (It also does not appear that they were paying rent
 2   before the initiation of the receivership).
 3
            25.     I have also been told that Mr. Wear or Mr. Briggs may have instructed employees
 4
     to sell assets of affiliated entities that are stored at the Real Property locations. Accordingly,
 5
     Receiver has been working to secure sites with limited resources. I have received multiple
 6

 7   emails, including an email dated today, September 9, 2024, stating that assets of affiliated

 8   entities are being sold out of these locations.

 9   Receiver Evaluates Options for Federal Bankruptcy Filing
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            26.     On August 27, 2024, involuntary petitions were filed against three entities
11
     affiliated with Debtor in the Southern District of Texas Bankruptcy Court. Those entities are:
12
     Creative Technologies, LLC; Refreshing USA, LLC; and Water Station Management, LLC.
13
            27.     Debtor is headquartered in Washington and does not appear to have significant
14

15   ties to make the Southern District of Texas an appropriate venue for a Bankruptcy proceeding.

16          28.     Tyler Sadek had received, as partial collateral for a loan, an assignment from
17   Ryan Wear as to all of Mr. Wear’s interests in the Debtor (which comprised ninety percent of the
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     outstanding membership interest in the Debtor). In June 2024, Mr. Sadek completed a
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     foreclosure as to the pledged interests in the Debtor in a state court proceeding in Indiana. Mr.
20
     Sadek now holds ninety percent of the membership interests in the Debtor previously held by
21

22   Mr. Wear.

23          29.     As a result of the above and to protect the Debtor and its assets, Mr. Sadek

24   executed the Corporate Resolution attached to the Petition (ECF No. 1) which appointed me as
25   Manager of the Debtor and authorized the filing of the Debtor into a chapter 11 bankruptcy case.
26


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 1   Acting as Manager of Debtor, I made the decision to file a voluntary chapter 11 petition for
 2   Debtor.
 3
            30.     Due to the nature of its Real Property assets, Debtor has a need to pay insurance,
 4
     pay utilities and pay those working for it, including its professionals. If such payments are not
 5
     made, the Debtor would suffer irreparable harm through the loss or diminution in value of its
 6

 7   assets. The Debtor is unable to obtain unsecured credit to fund its continued operations.

 8
            I declare under penalty of perjury under the laws of the State of Washington that the
 9
     foregoing statements are true and correct to the best of my knowledge.
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            DATED this 9th day of September 2024, at Seattle, Washington.
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13                                                          /s/ Eric Camm
                                                           Eric Camm
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      DECLARATION OF ERIC CAMM IN SUPPORT OF
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                               Exhibit A




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NAME OF PROPERTY          ADDRESS                       DATE OF    TITLE ENTITY       VALUE AT PURCHASE         1st MORTAGE Amt.         1st LENDER          2d LENDER           EST.       Listed for Property Type
                                                        PURCHASE                                                (est. as of May 2024 )                                           VALUE/SALE Sale       Summary
                                                                                                                                                                                 PRICE      Status

ARIZONA 4237 E MAGNOLIA   4237 E MAGNOLIA                      2020 IDEAL PROPERTY  $           1,050,000   $                  737,500 First Security Bank   FIRST FED           $    3,900,000 Yes
                                                                                                                                                                                                       Industrial/retail/fl
                          PHOENIX ARIZONA                           INVESTMENTS LLC                                                                          BANK
                                                                                                                                                                                                       ex
                                                                                                                                                                                                       6 tenants, 10
ARIZONA MANUFACTURING     1930 N 22ND AVE                  12/2/2021 IDEAL PROPERTY  $          5,450,000   $                 4,087,500 FSBNV                FIRST FED           $     975,000
                          PHOENIX AZ 85009                           INVESTMENTS LLC                                                                         BANK                                      Industrial/Wareh
                                                                                                                                                                                                       ouse
YUMA ARIZONA              653 E 20TH STREET                12/15/2021 IDEAL PROPERTY  $         1,500,000   $                 1,050,000 Candence Bank        FIRST FED           $    9,500,000 Yes
                          YUMA AZ 85365                               INVESTMENTS LLC                                                                        BANK                                      Warehouse/indus
                                                                                                                                                                                                       trial
ARIZONA ICE/WATER         700 S. ARIZONA BLVD              9/16/2021 IDEAL PROPERTY  $           120,000    $                        -   FIRST FED BANK                          $    4,900,000 Yes     Industrial
                          COOLIDGE AZ 85128                          INVESTMENTS LLC
HAYWARD                   25377 HUNTWOOD                   9/14/2021 IDEAL PROPERTY  $          8,400,000   $                 3,850,000 Socotra Capital      FIRST FED                                  County site says,
                          AVENUE HAYWARD CA                          INVESTMENTS LLC                                                                         BANK                                      Storage building
                          94544                                                                                                                                                                        built 1970.

ESCONDIDO                 530 OPPER STREET                  8/2/2021 IDEAL PROPERTY  $          4,797,456   $                 3,850,000 Socotra Capital      FIRST FED           $ 6,960,000.00 Yes     RV and Boat
                          ESCONDIDO, CA                              INVESTMENTS LLC                                                                         BANK                                      Storage
                                                                                                                                                                                                       14919 & 14821
                                                                                                                                                                                                       vacant land
                                                                                                                                                                                                       14805 is a SFR
TALLAHASSEE               877 ORANGE AVE                    7/7/2021 IDEAL PROPERTY  $           330,000    $                        -   FIRST FED BANK                          $    4,100,000         Industrial
                          TALLAHASSEE FL                             INVESTMENTS LLC
COMMERCIAL BLDG IL        8460 THOMAS AVENUE               1/13/2022 IDEAL PROPERTY  $           500,000    $                        -   FIRST FED BANK                          $     599,000          warehouse
                          BRIDGEVIEW, IL 60455                       INVESTMENTS LLC


MISSOULA                  1924 NORTH AVE W,                        IDEAL PROPERTY                                                                                                $   691,200.00         warehouse
                          MISSOULA, MT 59801                       INVESTMENTS LLC


VEGAS                     7925 W ARBY AVE LAS                   2020 IDEAL PROPERTY  $          3,854,045   $                 3,090,000 FSBNV                FIRST FED           $     850,000          Warehouse
                          VEGAS NV, 89113                            INVESTMENTS LLC                                                                         BANK
PORTLAND                  19355 SW TETON AVENUE            1/21/2021 IDEAL PROPERTY  $          2,735,000   $                 1,430,352 FIRST FED BANK                           $     525,000
                          TUALATIN OREGON                            INVESTMENTS LLC                                                                                                                   Industrial/Wareh
                                                                                                                                                                                                       ouse
DALLAS                    2709 ELECTRONIC LANE             8/31/2022 IDEAL PROPERTY  $          4,560,000   $                 3,420,000 BANCORP SOUTH        FIRST FED
                          DALLAS TEXAS 75220                         INVESTMENTS LLC                                                                         BANK
630 VEREDA                630 Vereda, San Antonio, TX                IDEAL PROPERTY                                                                                              $   180,900.00         Warehouse/
                          78201                                      INVESTMENTS LLC                                                                                                                   light industrial



4407 SUN VISTA            4407 Sun Vista Ln, San                   IDEAL PROPERTY                                                                                                $   230,700.00         residential
                          Antonio, TX 78217                        INVESTMENTS LLC




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UTAH                          586 WEST 9320 SOUTH,                    IDEAL PROPERTY                                                                                    $ 2,789,328.00       retail
                              SANDY, UT                               INVESTMENTS LLC
STANWOOD-JOHN BERRY           27423 40TH AVE                      2020 IDEAL PROPERTY  $          775,000    $       550,000 AVATAR/NBC             FIRST FED           $    1,500,000 Yes   Industrial
                              STANWOOD WA                              INVESTMENTS LLC                                       Mergeco Inc.           BANK
12 EMERY                      12 Emery Rd, Oroville, WA      4/28/2021 IDEAL PROPERTY  $          215,000    $            - FIRST FED BANK                              $    6,125,000 Yes   Warehouse
                              98844                                    INVESTMENTS LLC
EVERETT                       11410 BEVERLY PARK RD           9/9/2021 IDEAL PROPERTY  $         6,225,000   $      4,223,810 FIRST FED BANK                            $     900,000
                              EVERETT WA 98204                         INVESTMENTS LLC                                                                                                       Industrial/Wareh
                                                                                                                                                                                             ouse
ARLINGTON AIRPORT             3811 188TH STREET NE               2019 IDEAL PROPERTY   $          995,000    $       695,000 FIRST FED BANK                             $    2,800,000 Yes    Industrial
                              ARLINGTON WA                            INVESTMENTS LLC
STANWOOD                      27602 40th Ave NW,                 2020 IDEAL PROPERTY   $          775,000    $       550,000 NBC Mergeco, Inc       FIRST FED           $    4,750,000       Industrial
                              Stanwood, WA                            INVESTMENTS LLC                                                               BANK
CAMANO                        3200 SHORELINE DR                  2020 IDEAL PROPERTY   $          830,000    $       500,000 NBC Mergeco, Inc       FIRST FED           $     175,000         Land with pole
                              CAMANO ISLAND WA                        INVESTMENTS LLC                                                               BANK                                     structure
MARYSVILLE                    14925 35th Ave NE,                 2019 IDEAL INDUSTRIAL $         1,350,000   $       950,000 Seller/Everett 1 LLC   FIRST FED           $     900,000         SFR 1-4
                              Marysville, WA 98271                    PARK LLC                                                                      BANK
                                                                      (FORMERLY IDEAL
                                                                      PROPERTY
                                                                      INVESTMENTS LLC)

8825 KENT                     8825 S 228TH ST KENT WA        5/25/2021 8825 LLC         $        5,250,000   $      2,903,352 FIRST FED BANK                            $    2,950,000       Warehouse with
                              98031                                                                                                                                                          2 offices
GEORGIA BUILDING (COLUMBUS)    1118 Virginia St, Columbus,       2020 1118 VIRGINIA     $         500,000    $       318,000 PINNACLE               FIRST FED           $     775,000         SFR 1-4
                              GA                                      STREET LLC                                                                    BANK
NORTH CAROLINA                701 EDEN TERRACE                   2019 701 EDEN LLC      $         845,000    $       640,000 PINNACLE BANK          FIRST FED           $     775,000        Vacant land
                              ARCHDALE NC 27263                                                                                                     BANK
FORT MYERS                    2129 ANDREA LANE FORT              2020 2129 ANDREA LANE $         2,235,000   $      1,735,000 STRONGHILL                                $    1,000,000 Yes   Vacant land
                              MYERS FL 33912                          LLC                                                     CAPITAL, LLC &
                                                                                                                              SBA
LONGVIEW TEXAS                343 JOHNNY CLARK                   2020 343 JOHNNY        $         830,000    $        600,000 FIRST FED BANK                            $     650,000        Warehouse
                              ROAD LONGVIEW TEXAS                     CLARK LLC
                              75605
ARIZONA 4035 E MAGNOLIA       4035 East Magnolia St.                  3422 W                                                                                            $     937,500        commercial
                              Phoenix, AZ                             CLARENDON LLC
4827 STANWOOD                 4827 268TH ST NW,                       3422 W                                                                                            $   545,000.00       residential
                              STANWOOD, WA 98292                      CLARENDON LLC
SMOKEY POINT BLVD             14418 SMOKEY PT BLVD.,                  3422 W                                                                                            $   500,050.00       commercial
                              MARSYVILLE, WA 98270                    CLARENDON LLC
HOUSTON                       11519 SOUTH                        2020 11519 SOUTH       $         915,000    $       650,000 AM FIRST               FIRST FED           $     100,000        Vacant land
                              PETROPARK AVENUE                        PETROPARK LLC                                          NATIONAL               BANK
                              HOUSTON TX                                                                                     HOUSTON

SMOKEY POINT HOLDINGS LLC     3740 152ND ST NE,                       SMOKEY POINT                                                                                      $ 1,614,900.00       land
                              MARYSVILLE, WA 98271                    HOLDINGS LLC




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SMOKEY POINT   14919, 14821 Smokey Point   7/11/1905 SMOKEY POINT      $      5,000,000.00 $     1,690,000.00 NBC Mergeco, Inc   FIRST FED            $ 7,470,000.00 Yes   Warehouse/indus
               BLVD, Marysville, WA                  HOLDINGS LLC                                                                BANK (as to 5 of                          trial
               98271, 14805 35th Ave NE,                                                                                         6 parcels)
               Marysville, WA 98270
MURFREESBORO   730 MIDDLE TENN BLVD        3/17/2022 IDEAL             $        3,660,000   $      3,123,426 AVATAR              FIRST FED            $   5,800,000 Yes    Warehouse
               MURFREESBORO TN                       MURFREESBORO                                                                BANK
               37129
GREENLEAF      1400 GREENLEAF AVE           3/1/2022 IDEAL GREENLEAF   $        4,425,000   $      3,000,000 Avatar REIT I LLC   FIRST FED            $   1,250,000 Yes    Industrial
               ELK GROVE VILLAGE, IL                 LLC                                                                         BANK
               60007




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                               Exhibit B




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Property Name               Address                                             City                   Zip    State     ENTITY OWNER / LANDLORD          Tenant Type                       Tenant                      Cost Per Month
GEORGIA BUILDING (COLUMBUS) 1118 Virginia St, Columbus, GA                                                              1118 VIRGINIA STREET LLC         Related Party   Refreshing GA
HOUSTON                     11519 SOUTH PETROPARK AVENUE HOUSTON TX                                                     11519 SOUTH PETROPARK LLC        Related Party   Refreshing TX
FORT MYERS                  2129 ANDREA LANE FORT MYERS FL 33912                                                        2129 ANDREA LANE LLC             Related Party   Refreshing FL
FORT MYERS                  2129 ANDREA LANE FORT MYERS FL 33912                                                        2129 ANDREA LANE LLC             3rd Party       Condo Cars
FORT MYERS                  2129 ANDREA LANE FORT MYERS FL 33912                                                        2129 ANDREA LANE LLC             3rd Party       Beaches Interior LLC
LONGVIEW TEXAS              343 JOHNNY CLARK ROAD LONGVIEW TEXAS 75605                                                  343 JOHNNY CLARK LLC             Related Party   Refreshing TX
NORTH CAROLINA              701 EDEN TERRACE                                    ARCHDALE              27263    NC       701 EDEN AVE LLC                 3rd Party       BUREAU OFFICE INC.                             $     10,625
NORTH CAROLINA              701 EDEN TERRACE ARCHDALE NC 27263                                                          701 EDEN LLC                     Related Party   Refreshing USA
CHICAGO 1400 GREENLEAF      1400 GREENLEAF AVE ELK GROVE VILLAGE, IL 60007                                              IDEAL GREENLEAF LLC              Related Party   Refreshing GL
ARIZONA 4237 E MAGNOLIA     4237 E MAGNOLIA PHOENIX ARIZONA                                                             IDEAL PROPERTY INVESTMENTS LLC   Related Party   Refreshing AZ
ARIZONA ICE/WATER           700 S. Arizona Blvd.                                Coolidge              85128    AZ       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Ice & Water Vendors                            $        -
ARIZONA MANUFACTURING       1930 N 22nd Ave.                                    Phoenix               85009    AZ       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Grand Canyon Foods International               $     15,225
ARIZONA MANUFACTURING       1930 N 22nd Ave.                                    Phoenix               85009    AZ       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Mach Holdings                                  $        -
COMMERCIAL BLDG IL          8460 THOMAS AVENUE BRIDGEVIEW, IL 60455                                                     IDEAL PROPERTY INVESTMENTS LLC   Related Party   Refreshing GL
DALLAS                      2711 Electronic Lane                                Dallas                75220    TX       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Select Technolgy Group                         $      3,002
DALLAS                      2715 Electronic Lane                                Dallas                75220    TX       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Dobbs Stanford Corp.                           $     11,097
DALLAS                      2709 ELECTRONIC LANE DALLAS TEXAS 75220                                                     IDEAL PROPERTY INVESTMENTS LLC   Related Party   Refreshing TX
EVERETT                     11411 Beverly Park Rd.                              Everett               98205    WA       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Arlington Recycle                              $     10,000
EVERETT                     11410 BEVERLY PARK RD EVERETT WA 98204                                                      IDEAL PROPERTY INVESTMENTS LLC   Related Party   Refreshing USA
HAYWARD                     25377 Huntwood Ave.                                 Hayward               94544    CA       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       ITA Med Co                                     $     17,000
NASHVILLE                   730a Middle Tennessee Blvd,Suite 9                  Murfreesboro          37129    TN       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Receumbent Bicycles of Tennessee               $      1,292
NASHVILLE                   730a Middle Tennessee Blvd,Suite 10 and 11          Murfreesboro          37129    TN       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Tenn 730 Business LLC                          $      4,667
NASHVILLE                   730a Middle Tennessee Blvd,Suite 12                 Murfreesboro          37129    TN       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Guardian MMA, LLC                              $      4,851
NASHVILLE                   730a Middle Tennessee Blvd,Suite 13                 Murfreesboro          37129    TN       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Hexa Partners                                  $      4,118
NASHVILLE                   730a Middle Tennessee Blvd,Suite 14-15              Murfreesboro          37129    TN       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       The Warehouse                                  $      3,219
NASHVILLE                   730a Middle Tennessee Blvd,Suites 18-20             Murfreesboro          37129    TN       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Oerlikon Balzers Coating USA, Inc.             $      6,888
PORTLAND                    19355 SW TETON AVENUE TUALATIN OREGON                                                       IDEAL PROPERTY INVESTMENTS LLC   Related Party   Refreshing MW
TALLAHASSEE                 877 ORANGE AVE TALLAHASSEE FL                                                               IDEAL PROPERTY INVESTMENTS LLC   Related Party   Refreshing FL
VEGAS                       7925 W ARBY AVE LAS VEGAS NV, 89113                                                         IDEAL PROPERTY INVESTMENTS LLC   Related Party   Refreshing NV
YUMA ARIZONA                653 E 20th St. Suite A                              Yuma                  85365    AZ       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Yuma Gymnastics                                $      2,808
YUMA ARIZONA                653 E 20TH STREET YUMA AZ 85365                                                             IDEAL PROPERTY INVESTMENTS LLC   Related Party   Refreshing AZ
SAN DIEGO                   530 Opper St., Unit B Mauricio Rosas 916-953-3663   Escondido            92029     CA       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Progressive Design Playgrounds                 $      4,725
SAN DIEGO                   530 Opper St., Unit A                               Escondido            92029     CA       IDEAL PROPERTY INVESTMENTS LLC   3rd Party       Sound-Crete / Cell-Crete Corp.                 $      6,327
MISSOULA                    Unknown                                                                                     Unconfirmed                      3rd Party       Customm Upholstery - Missoula MT
PORTLAND                    19355 SW TETON AVENUE TUALATIN OREGON                                                       Unconfirmed                      3rd Party       Sky Heating and Air Conditioning - Tualitin OR
PORTLAND                    19355 SW TETON AVENUE TUALATIN OREGON                                                       Unconfirmed                      3rd Party       Sherwood Collision Center


                                                                                                               Page 1
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                               Exhibit C




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Ideal Property Investments LLC                          Forecast         Forecast            Forecast        Forecast            Forecast          Forecast
Forecasted Cash Flow                                    9/6/2024        9/13/2024           9/20/2024       9/27/2024           10/4/2024         10/11/2024
                                                            1               2                   3               4                   5                 6

                        Northwest Bank *3000                 54,230
                        Beginning Bank Balance               54,230          85,785              85,785         132,131                     (0)         32,482




                                         Income         9/6/2024      9/13/2024           9/20/2024      9/27/2024           10/4/2024      10/11/2024                 Total
                         Rental Property Income     $        33,145 $          -        $       46,346 $          -        $       33,145 $          -             $    112,636
                       Property Disposition (net)                -             -                   -              -                   -              -             $         -
                                  Income Inflow     $        33,145 $          -        $       46,346 $          -        $       33,145 $          -             $    112,636



                            Operating Expenses
                  Adequate Protection Payments                      -               -                   -        36,299                      -                 - $       36,299
                             Property Insurance                     -               -                   -        58,583                      -                 - $       58,583
                      Professional Fee Holdback                     -               -                   -        15,000                      -                 - $       15,000
                 Turnover Cost - Section 503(b)3                    -               -                   -        10,000                      -                 -
                        Manager Compensation                        -               -                   -        12,000                      -                 -
                               US Trustee Fees                    -                 -                   -            250                  -                  -
                                 Rental Utilities             1,590                 -                   -              -                663                  - $          2,253
                            Operational Outflow     $         1,590 $           -       $           -   $        132,132 $              663 $              -   $        134,384
                                 Total Cashflow     $        31,555 $           -       $        46,346 $       (132,132) $          32,482 $              -

                            Ending Bank Balance     $        85,785 $        85,785 $           132,131 $               (0) $        32,482 $           32,482




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